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 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. CR16-164-RSM
 8

 9                                 Plaintiff,

10          v.                                            DETENTION ORDER
11   CODY ALAN CLAY,
12
                                   Defendant.
13

14   Offense charged:
15          Count 1:      Conspiracy to Distribute Heroin
16          Count 2:      Distribution of Heroin
17
     Date of Detention Hearing: June 28, 2016
18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
22
                    defendant is a flight risk and a danger to the community based on the nature of
23
                    the pending charges. Application of the presumption is appropriate in this case.
24
            2.      Defendant has substantial substance abuse history.
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            3.      Defendant lacks any support structure, no suitable residence, and no
26
                    employment.

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           4.    Defendant demonstrates an unwillingness or an inability to comply with court
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                 orders and supervision.
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           5.    Defendant will be detained, but can ask the Court to revisit the Order if the
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                 issues above can be addressed.
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           6.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
 8
           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
11
                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
15
           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
19
           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
22
           DATED this 29th day of June, 2016.


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24
                                                JAMES P. DONOHUE
25                                              Chief United States Magistrate Judge
26


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     18 U.S.C. § 3142(i)
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